 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21      Page 1 of 6 PageID 511



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

MICAH BROWN,                            §
                  Petitioner,           §
                                        §
v.                                      §        No. 3:19-cv-02301-L-BN
                                        §          *CAPITAL CASE*
BOBBY LUMPKIN,                          §
Director, Texas Department              §
of Criminal Justice,                    §
Correctional Institutions Division,     §
                  Respondent.           §

 RESPONDENT LUMPKIN’S UNOPPOSED SECOND MOTION FOR
                EXTENSION OF TIME

      This is a federal habeas corpus proceeding brought by Petitioner Micah

Brown, pursuant to 28 U.S.C. §§ 2241 & 2254. Brown filed his federal habeas

petition on September 11, 2020. ECF No. 29. The Director’s response was due

by December 10, 2020. The Director requested a ninety-day extension of time,

or until, March 10, 2021, to file his answer, which this Court granted.

ECF Nos. 34 & 35. For the following reasons, the Director requests a second

extension of sixty (60) days, or until May 9, 2021, to file his answer.

      The undersigned has reviewed a majority of the record, including most

of the state habeas hearing transcript, in this case. Likewise, the undersigned

has addressed about a quarter of Brown’s federal petition. However, toward

the end of December of 2020, capital defendant Michael Dean Gonzales filed a

lengthy Chapter 64 motion for DNA testing, seeking to test about thirty items
 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21      Page 2 of 6 PageID 512



of evidence. As previously stated, the undersigned is the acting attorney pro

tem in State v. Michael Dean Gonzales, No. D-23,730 (358th Jud. Dist. Ct.,

Ector County, Tex.). Pursuant to Texas Code of Criminal Procedure, Article

64.02, a response to a motion for DNA testing is due sixty days from receipt of

the motion, and state law does not explicitly permit extensions. Thus, the

undersigned had to draft and file a lengthy response by February 19, 2021.

      The undersigned’s response time in the Gonzales case was complicated

by four factors.   First, Ector County elected a new district attorney, who

assumed office at the beginning of 2021. Because the new district attorney

faced no conflict of interest, as the prior district attorney did, the undersigned

had to contact the district attorney to determine if he desired to retake the

Gonzales case. If so, the district attorney would respond to the Chapter 64

motion rather than the undersigned. But several weeks elapsed before the

undersigned was able—after many phone calls—to speak to the district

attorney, who advised the undersigned that he did not wish to retake the case.

      Second, while in the process of responding to Gonzales’s motion, the

undersigned and the investigator for the Criminal Appeals Division of the

Texas Attorney General’s Office had to track down all the evidence Gonzales

requests for testing, for purposes of Article 64.02 and to determine any possible

chain-of-custody issues. This required numerous communications with both


                                        2
 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21     Page 3 of 6 PageID 513



the Odessa Police Department and the Texas Department of Public Safety.

      Third, during this same time period, counsel for Gonzales filed a motion

to terminate the undersigned attorney pro tem and a motion to defer the

setting of an execution date, both of which required a response from the

undersigned.   And because the trial court granted the latter motion, the

undersigned filed a motion for reconsideration of this decision.

      Fourth, the undersigned’s due date to file the response, February 19,

2021, occurred the same week as the winter storm that impacted all of Texas.

As was the case for many Texans, the undersigned experienced recurrent

power outages and disruptions in water due to a broken pipe. Thus, the

undersigned was unable to do any work the week of February 15, 2021.

      Because of the closings caused by the storm, the undersigned filed a

response to Gonzales’s Chapter 64 motion on February 22, 2021. Since that

time, the undersigned has resumed work on the instant case. However, many

of the claims Brown raises in his federal petition still need addressing. As

further justification for this extension, the undersigned has an answer due on

April 5, 2021, in Juan Lizcano v. Lumpkin, No. 3:16-cv-01008-B-BN (N.D. Tex.)

(non-capital), and a Fifth Circuit response in opposition to an application for a

certificate of appealability (COA) in Garland Harper v. Lumpkin, No. 20-

70022, which is due on April 28, 2021. Finally, in the Gonzales case, the trial


                                       3
 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21     Page 4 of 6 PageID 514



court scheduled a Zoom hearing to address Gonzales’s motion to terminate the

attorney pro tem for February 17, 2021, the same week as the winter storm.

That hearing was canceled, but the undersigned anticipates that it will be

rescheduled and occur within the next several weeks.

      For these reasons, the undersigned respectfully requests sixty additional

days to draft and file a responsive pleading to Brown’s federal habeas petition.

This motion is not requested to delay this proceeding. Counsel for Brown, Tim

Gumkowski, has advised the undersigned that he is not opposed to the

requested extension. However, Mr. Gumkowski stated that by not opposing

this motion, counsel for Brown are not implying that they have abandoned

their objections to this Court’s decision denying their motion to extend the date

for filing an amended petition. See ECF Nos. 30–32.

                                CONCLUSION

      The Director moves this Court to extend the time for filing a response to

Brown’s habeas petition up to and including May 9, 2021.

                                     Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General




                                       4
 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21   Page 5 of 6 PageID 515



                                    JOSH RENO
                                    Deputy Attorney General
                                    For Criminal Justice

                                    EDWARD L. MARSHALL
                                    Chief, Criminal Appeals Division


                                    /s/ Erich Dryden
                                    *ERICH DRYDEN
*Attorney-in-Charge                 Assistant Attorney General
                                    State Bar No. 24008786
                                    Erich.Dryden@oag.texas.gov

                                    P.O. Box 12548, Capitol Station
                                    Austin, Texas 78711-2548
                                    (512) 936-1400
                                    (512) 320-8132 (Fax)

                                    ATTORNEYS FOR RESPONDENT



                   CERTIFICATE OF CONFERENCE

     I hereby certify that counsel for Petitioner, Tim Gumkowski, has been

contacted, and he is not opposed to the requested extension, with the

qualification that he is not abandoning any objection to this Court’s decision

denying Brown’s motion to extend the date for filing an amended petition.



                                    /s/ Erich Dryden
                                    ERICH DRYDEN
                                    Assistant Attorney General



                                      5
 Case 3:19-cv-02301-L-BN Document 36 Filed 03/05/21   Page 6 of 6 PageID 516



                      CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing Unopposed

Second Motion for Extension of Time has been served electronically to Timothy

Gumkowski and Maureen Franco on March 5, 2021.




                                   /s/ Erich Dryden
                                   ERICH DRYDEN
                                   Assistant Attorney General




                                     6
